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                                                                           FILED
                          UNITED STATES DISTRICT COURT                       MAR 112022
                           WESTERN DISTRICT OF TEXAS
                                                                          CLERK, US. DISTRIC1
                              SAN ANTONIO DIVISION                          STERN DSTRtCT OF    TS
                                                                          BY_
                                                                                            DEP1Y
LA UNION DEL PUEBLO ENTERO, et al., §
                     Plaintjffs,             §
                                             §
v.                                           §           5:21-C V-0844-XR
                                             §           (Consolidated Cases)
GREGORY ABBOTT, et al.                       §
                     Defendants.             §



        DEFENDANT TRAVIS COUNTY DISTRICT ATTORNEY JOSÉ GARZA'S


       CHURCH, THE ANTI- DEFAMATION LEAGUE AUSTIN, SOUTHWEST, AND
        TEXOMA REGIONS, SOUTHWEST VOTER REGISTRATION EDUCATION
       PROJECT. TEXAS IMPACT, MEXICAN AMERICAN BAR ASSOCIATION OF
     TEXAS, TEXAS HISPANICS ORGANIZED FOR POLITICAL EDUCATION, JOLT
      ACTION, WILLIAM C. VELASQUEZ INSTITUTE, FIEL HOUSTON, INC., AND
     JAMES LEWIN'S SECOND AMENDED COMPLAiNT FOR DECLARATORY AND
                       INJUNCTIVE RELIEF FECF NO. 208


 TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW Defendant Travis County District Attorney José Garza ("District Attorney

Garza") and files this Unopposed Third Motion for Extension of Time to File Response to

LUPE Plaintiffs' Second Amended Complaint (ECF No. 208) and in support thereof states as

follows:

                                                 I.

        LUPE Plaintiffs filed their Second Amended Complaint for Declaratory and Injunctive

Relief on January 25, 2022 (ECF No. 208). District Attorney Garza was served with the Second

Amended Complaint on February 8, 2022.       District Attorney Garza completed a Waiver of

Service [ECF No. 236], pursuant to which, by agreement, the original deadline for his response
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to the Second Amended Complaint was February 25, 2022. The Court granted District Attorney

Garza's (First) Unopposed Motion for Extension of Time (ECF No. 288), and Second

Unopposed Motion for Extension of Time (ECF. No. 312), making his current answer due March

11,2022.

        District Attorney Garza respectfully requests that the Court grant a three (3) business-day

extension of time to file his Response to LUPE Plaintiffs' Second Amended Complaint. District

Attorney Garza does not seek this motion for delay, but for good cause. This motion will not

prejudice Plaintiffs as they do not oppose the relief requested. This extension is necessary to

permit District Attorney Garza and his counsel sufficient time to further explore the appropriate

responsive pleading to be filed on behalf of District Attorney Garza at this time. The extension

of time is warranted in the interest ofjustice, and to conserve the resources of the parties.

        Pursuant to Local Rule CV-7(i), counsel for District Attorney Garza has conferred with

Plaintiffs' counsel regarding the relief requested in the Motion. Plaintiffs do not oppose this

extension.

                                           II.      CONCLUSION

        For the foregoing reasons, the Court should grant District Attorney Garza's unopposed

motion for extension of time for his Response, up to and including March 16, 2022,

                                                     Respectfully submitted,
                                                     DELIA GARZA
                                                     County Attorney, Travis County
                                                     P. 0. Box 1748
                                                     Austin, Texas 78767
                                                     Telephone:    (512) 854-9513
                                                     Facsimile:    (512) 854-4808

                                                     SHERINE E. THOMAS
                                                     State Bar No. 00794734
                                                     Sherine.Thomas(á.traviscountytx.tov

La Union del Pueblo Entero, et al. v. Greg Abbott, et al.
Defendant Travis County District Attorney José Garza's Unopposed Third Motion for Extension of Time to File
Response to LUPE Plaintiffs' 2" Amended Complaint
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                                                      LESLIE W. DIPPEL
                                                      State Bar No. 00796472
                                                      Leslie.I)ippe.I(á):travi scountytx.gov

                                             By:      /s/Anthony J. Nelson
                                                      ANTHONY J. NELSON
                                                      State Bar No. 14885800
                                                      Tony.Nelson(ätraviscountytx.gov
                                                      PATRICK T. POPE
                                                      State Bar No. 24079151
                                                      Patrick.Popeätraviscountvtx.gov

                                                      ATTORNEYS FOR DEFENDANT
                                                      JOSÉ GARZA, IN HIS OFFICIAL CAPACITY
                                                      AS TRAVIS COUNTY DISTRICT ATTORNEY

                                      CERTIFICATE OF SERVICE

         I   hereby certify that a true and correct copy of this motion was served through the Court's

CM/ECF Document Filing System upon each attorney of record and the original upon the Clerk

of Court on this the 11th day of March, 2022.


                                                              /s/Anthony J Nelson
                                                              ANTHONY J. NELSON
                                                              Assistant County Attorneys


                                   CERTIFICATE OF CONFERNCE

        I certify that on March 11, 2022, counsel for Travis County District Attorney José Garza

conferred with Plaintiffs' counsel, regarding the filing of Travis County District Attorney José

Garza's Unopposed Third Motion for Extension of Time to File Response to Plaintiffs'

Complaint. Counsel for Plaintiffs indicated they are UNOPPOSED to this motion.

                                                              /s/Anthony J Nelson
                                                              ANTHONY J. NELSON
                                                              Assistant County Attorney



La Union del Pueblo Entero, et al. v. Greg Abbott, et al.
Defendant Travis County District Attorney Josd Garza's Unopposed Third Motion for Extension of Time to File
Response to LUPE Plaintiffs' 2d Amended Complaint
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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO, et al., §
                       Plaint   ffs,             §
                                                 §
v.                                               §            5:21-CV-0844-XR
                                                 §            (Consolidated Cases)
GREGORY ABBOTT, et al.                           §
                       Defendants.               §




                                            ORDER



       Before the Court is Defendant Travis County District Attorney José Garza's Unopposed

Third Motion for Extension of Time to File a Response to OCA-Greater Houston Plaintiffs'

Second Amended Complaint for Declaratory and Injunctive Relief. After careful consideration of

the Motion, Plaintiffs' response, if any, and the pleadings filed by the parties, the Court is of the

opinion that the Motion has merit and should be GRANTED.

       Accordingly, it is ORDERED that Defendant Travis County District Attorney José Garza

shall file a response to OCA-Greater Houston Plaintiffs' Second Amended Complaint on or before

March 17, 2022.


                                       SIGNED this _______day of                              2022.



                                       UNITED STATES DISTRICT JUDGE
